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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                            Alexandria Division


UNITED STATES OP AMERICA,
 PlainiitT.

         V.
                                                           Civil Action No.: l;15-cv-1106
 ALLASSETS IN AUSTRALIA AND
 ELSEWHERE LISTED IN ATTACHMENT A,                         The Honorable Liam O'Grady
 AND ALL INTEREST. BENEFITS, AND
 ASSETS TRACEABLE THERETO,
 Defendants in Rem.



                                       nPHFR STRnCTNG CLAIMS


              The Court, having considered the United States' motion to strike the claims of
  Megamedia Limited, Megarotic Limited, Megaupload Limited, and Megavideo Limited (the
  "Corporate Claimants"); Kim Dotcom; and Mathias Ortmann, hereby finds the following:
              1. awarrant or similar process has been issued for Claimants Kim Dotcom and Mathias
                  Ortmann in a criminal case for the claimants' apprehension,
              2. Claimants Kim Dotcom and Mathias Ortmann have had notice or knowledge ofthe
                  warrants;


              3. the criminal case is related to this forfeiture action;

              4. Claimants Kim Dotcom and Mathias Ortmann are not confined or otherwise held m
                  custody in another jurisdiction;

               5. Claimants Kim Dotcom and Maihias Ortmann have deliberately avoided prosecution
                   by declining to enter or reenter the United States;
               6. Because Claimant Kim Dotcom, who is himselfafugitive under Section 2466, is the
                   Corporate Claimants" controlling shareholder and, in particular, because he signed the
                   claims on behalf ofthe corporations, a presumption ofdisentitlement applies to the
                   corporations as well;
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